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                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
                                                   §
 v.                                                § CASE NUMBER 4:20-CR-00079
                                                   §
 JULIAN KESTEN FREEMAN                             §



       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

       The Court referred this matter to the Honorable Christine A. Nowak, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. The Honorable Christine A. Nowak conducted a hearing in the form and manner

prescribed by Federal Rule of Criminal Procedure 11 and issued her Findings of Fact and

Recommendation on Guilty Plea Before the United States Magistrate Judge. The Magistrate Judge

recommended that the Court accept the Defendant’s guilty plea. She further recommended that

the Court adjudge the Defendant guilty on Count Two of the Indictment filed against the

Defendant.

       The parties have not objected to the Magistrate Judge’s findings. The Court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ADOPTED. The Court accepts the Defendant’s plea but defers acceptance of the plea

agreement until after review of the presentence report. It is further ORDERED that, in accordance

with the Defendant’s guilty plea and the Magistrate Judge’s findings, Defendant, JULIAN
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KESTEN FREEMAN, is adjudged guilty as to Count Two of the Indictment charging a violation

of Title 18 U.S.C. § 2252A(a)(1) and (b)(1) – Transportation of Child Pornography.


           So ORDERED and SIGNED this 25th day of September, 2020.




                                                           ____________________________________
                                                           SEAN D. JORDAN
                                                           UNITED STATES DISTRICT JUDGE
